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                        UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF KENTUCKY
                               OWENSBORO DIVISION

IN RE:          JULIE FAYE VAUGHN                               CASE NO. 21-40215
                DEBTOR                                          Chapter 7

JULIE FAYE VAUGHN                                                                        PLAINTIFF

VS.                                                                     A.P. NO: 21-04011

Med-1 Solutions, LLC                                                                   DEFENDANT

                                     DEFAULT JUDGMENT

        The Plaintiff, Julie Faye Vaughn, by counsel, has moved the Court to enter a default
judgment against the Defendant, who has failed to plead or otherwise appear herein.
        The Court has reviewed the file and the affidavit which was filed in support of the motion
and finds that the entry of judgment is appropriate and does hereby
        ORDER AND ADJUDGE that the Plaintiff, Julie Faye Vaughn, is awarded a judgment
against Med-1 Solutions, LLC in the principal amount of $1,207.24 with interest thereon from the
date of this Default Judgment until said judgment is paid in full at the federal judgment interest rate.
This judgment is without prejudice to collect further fees and costs for subsequent collection
proceedings.
        IT IS FURTHER ORDERED that this judgment is entered under 11 U.S.C. 523(a)(2)(A) and
523(a)(6) and is therefore non-dischargeable in this or any subsequent bankruptcy proceeding.




PREPARED BY:                                              Dated: August 18, 2021

/s/ Sandra D. Freeburger
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